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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE WESTERN DISTRICT OF VIRGINIA
                          CHARLOTTESVILLE DIVISION


                                                            Action No: 3:17CV72
   Elizabeth Sines, et al                                   Date: October 30, 2020
   vs.                                                      Judge: Norman K. Moon
                                                            Court Reporter: JoRita Meyer
   Jason Kessler, et al
                                                            Deputy Clerk: Heidi N. Wheeler



    Plaintiff Attorney(s)                           Defendant Attorney(s)
    Alan Levine ( Argues )                          Bryan Jones
    Jessica Phillips
    Michael Bloch
    Jonathan Kay
    Caitlin Munley
    Karen Dunn
    (All present via zoon hearing )



                                      LIST OF WITNESSES

   PLAINTIFF/GOVERNMENT:                            DEFENDANT:
   1.                                               1.



  PROCEEDINGS:
  VIDEO MOTION HEARING On Motion for Summary Judgment [823] 2:00-3:30=1 hr 30 min

  Court gives standard reminder re: recording/broadcasting of hearings for the record.

  Mr. Jones presents Motion [823] on behalf of the League of the South, Michael Hill and Michael
  Tubbs.

  Mr. Levine responds.

  Arguments heard.

  Closing arguments.
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  Remarks by Court.

  No further matters to address, court adjourned.




  Time in Court:
